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                                 APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

Appellate Court No: _24
                      _ -_1_94_7_ _ __

Short Caption: Property Casualty Insurers Ass'n v. Adrianne Todman, et al.

   To enable the judges to determine whether recusal is necessary or appropriate, an attorney for a non-governmental party, arnicus curiae,
intervenor or a private attorney representing a government party, must furnish a disclosure statement providing the following information
in compliance with Circuit Rule 26.1 and Fed. R. App. P. 26.1.

   The Court prefers that the disclosure statements be filed immediately following docketing; but, the disclosure statement must be filed
within 21 days of docketing or upon the filing of a motion, response, petition, or answer in this court, whichever occurs first. Attorneys are
required to file an amended statement to reflect any material changes in the required information. The text of the statement must also be
included in the front of the table of contents of the party's main brief. Counsel is required to co mplete the entire statement and to use
NI A fo r any info rmation that is not applicable if this fo rm is used.

          □         PLEASE CHECK HERE IF ANY INFORMATION ON THIS FORM IS NEW OR REVISED AND
                    INDICATE WHIC H INFORMATION IS NEW OR REVISED.

(1)      The full name of every party that the attorney represents in the case (if the party is a corporation, you must provide the corporate disclosure
         information required by Fed. R. App. P. 26.1 by completing item #3):
          Adrianne Todman, in her official capacity as Acting Secretary of the Department of Housing and Urban Development:

          United States Department of Housing and Urban Development

(2)      The names of all law firms whose partners or associates have appeared for the party in the case (including proceedings in the district court or
         before an administrative agency) or are expected to appear for the party in this court:
          United States Department of Justice



(3)       If the party, amicus or intervenor is a corporation:

          i)        Identify all its parent corporations, if any; and



          ii)       list any publicly held company that owns 10% or more of the party's, amicus' or intervenor's stock:



(4)       Provide information required by FRAP 26.1 (b)- Organizational Victims in Criminal Cases:



(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:




Attorney's Signature: s/ Stephanie R. Marcus                                   Date: June 6, 2024

Attorney's Printed Name: _S_t_
                             ep~h_a_n_ie_ R_._M_a_r_c_
                                                     us______________________________

Please indicate if you are Counsel ofRecord for the above listed parties pursuant to Circuit Rule 3(d).   Yes [ZI      No □
Address: U.S. Department of Justice, Civil Division, Appellate Staff

          950 Pennsylvania Ave., N.W. Room 7539 Washington, DC 20530

Phone Number: (202) 514-1633                                               Fax Number: (202) 307-2551

E-Mail Address: stephanie.marcus@usdoj.gov
                                                                                                                                         rev. 12/ 19 AK
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                            CERTIFICATE OF SERVICE
      Certificate of Service When All Case Participants Are CM/ECF Participants
                         June 6, 2024
I hereby certify that on ___________________, I electronically filed the foregoing with the
Clerk of the Court for the United States Court of Appeals for the Seventh Circuit by using
the CM/ECF system. I certify that all participants in the case are registered CM/ECF users
and that service will be accomplished by the CM/ECF system.


                                                         Stephanie R. Marcus
                                                     s/__________________________________



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   Certificate of Service When Not All Case Participants Are CM/ECF Participants

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Participants in the case who are registered CM/ECF users will be served by the CM/ECF
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